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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CITIZENS UNITED AND           )
DAILY CALLER NEWS             )
FOUNDATION                    )
                Plaintiffs,   )
                              )                  Civ. A. No. 1:20-cv-00974 (CKK)
      v.                      )
                              )
U.S. DEPARTMENT OF JUSTICE, )
                              )
                  Defendant.  )
______________________________)


                                    JOINT STATUS REPORT

         In accordance with the Court’s Order dated May 22, 2020, see ECF No. 7, the Parties report

as follows:

         1.      This is a Freedom of Information Act (FOIA) case in which Plaintiffs Citizens

United and Daily Caller News Foundation (“Plaintiffs”), seek records from the U.S. Department

of Justice’s (“DOJ”) Office of the Inspector General (“OIG”) pertaining to what Plaintiffs allege

was “the Department of Justice Inspector General’s Investigation entitled ‘Review of Four FISA

Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation.” Compl. ¶ 7, ECF

No. 1.

         2.      Plaintiffs’ Complaint describes their FOIA request as seeking the following

records:

         All interview transcripts, interview summaries, interview notes and/or FBI 302s
         generated as a result of investigative interviews of the following individuals in the
         course of the Department of Justice Inspector General’s investigation entitled
         ‘Review of Four FISA Applications and Other Aspects of the FBI’s Crossfire
         Hurricane Investigation.’

         •    James Comey; Loretta Lynch; Sally Yates; Dana Boente; Andrew McCabe;
              Rod Rosenstein; James Baker; Bruce Ohr; Nellie Ohr; Christopher Steele; Peter

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            Strzok; Lisa Page; Bill Priestap; Katheen Kavalec; Andrew Weissmann; Zainab
            Ahmad; Bruce Swartz; Stuart Evans; Michael Atkinson; John Carlin; Mary
            McCord; George Toscas; David Laufman; James Rybicki; Michael Kortan;
            Case Agent 1; and Handling Agent 1.

Compl. ¶ 7, ECF No. 1.

       3.         DOJ OIG has not issued a determination in response to the request.

       4.         The Parties conferred on Thursday, June 18, 2020 to discuss the status of OIG’s

responses to the requests.

       5.         OIG reported that all of the documents potentially responsive to Plaintiffs’ request

are maintained on a classified system(s) and can only be reviewed in a Sensitive Compartmented

Information Facility (“SCIF”) in OIG’s offices. In response to the COVID-19 crisis, OIG is in a

maximum telework posture and is only authorizing personnel to go to the office to perform mission

critical functions. At this time, OIG does not consider the review of documents in a SCIF in OIG’s

offices for FOIA processing purposes to be a mission critical function. Therefore, while OIG

understands where to locate the universe of records potentially responsive to Plaintiffs’ request, at

this time, it is not in a position to process those records. OIG will apprise Plaintiffs and the Court

as soon as circumstances allow for processing to begin.

       6.         The Parties have further agreed to report back to the Court by July 10, 2020, on

their progress.

       7.         At this time, Defendant does not believe an Open America motion is likely. The

Parties believe that it is premature to propose a summary judgment briefing schedule.




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DATE: June 19, 2020                Respectfully submitted,



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